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                                                                December 27, 2021

   BY ECF

   The Honorable Norman K. Moon
   United States District Court
   Western District of Virginia
   255 West Main Street
   Charlottesville, VA 22902

          Re:     Sines, et al. v. Kessler, et al., No. 3:17-cv-0072 (NKM) (JCH)

   Dear Judge Moon:

           We write on behalf of Plaintiffs in response to Defendant Christopher Cantwell’s motion
   to extend all post-trial deadlines by 60 days. ECF 1508. Plaintiffs do not oppose Mr. Cantwell’s
   request, but believe that any such extension should apply uniformly for all parties and all motions
   so that the motions may all be heard on the same schedule. Moreover, as a number of Plaintiffs’
   attorneys have unfortunately contracted COVID-19 since the schedule for post-trial motions was
   entered by the Court on December 8, 2021 (ECF 1496), an extension of the deadline for filing
   post-trial motions would not be unwarranted.

          If Mr. Cantwell’s request were to be applied uniformly to all post-trial motions, the revised
   schedule would be as follows:
      • March 8, 2022:          Motions and supporting memoranda due;
      • April 8, 2022:          Opposition memoranda due; and
      • April 25, 2022:         Reply memoranda due.

           While Plaintiffs do not oppose Mr. Cantwell’s request to extend all post-trial deadlines,
   Plaintiffs do oppose Mr. Cantwell’s request that “Plaintiffs’ unserved filings be stricken from the
   record and his motion be treated as unopposed” given that Plaintiffs obviously have no control
   over Mr. Cantwell’s whereabouts or access to documents and other communications while he is
   incarcerated. See ECF 1508 at 2, ¶ 8. Plaintiffs take no position on Mr. Cantwell’s other requests.
   See id. at 2-3, ¶¶ 11-12.

                                                                Respectfully submitted,


                                                                Roberta A. Kaplan
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          I hereby certify that on December 27, 2021, I served the following via electronic mail:

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